Case 2:20-cv-02892-SHL-tmp Document 361-9 Filed 11/01/22 Page 1 of 23      PageID 8166




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TENNESSEE

   AMERICAN SPIRIT AND CHEER
   ESSENTIALS, INC., et.al.,

                      Plaintiffs,
                                                CIVIL ACTION
   v.                                           FILE NUMBER:
                                                2:20-cv-02782-SHL- tmp
   VARSITY BRANDS, LLC, et.al.,
                                                REQUEST FOR PRODUCTION
                      Defendants,               OF DOCUMENTS TO ALL
                                                DEFENDANTS




                    PLAINTIFF'S REQUEST FOR
           PRODUCTION OF DOCUMENTS TO ALL DEFENDANTS

         Pursuant to Federal Rules of Civil Procedure 34 Plaintiff requests that all

   Defendants, produce and permit Plaintiffs to inspect and copy the following

   documents by producing same in accordance with the Agreed ESI Protocol (ECF

   No. 97-2).    These document requests are continuing in nature and must be

   supplemented as required by Fed. R. Civ. P. 26 (b)(e).

                                    DEFINITIONS

                1.    “AACCA” means The American Association of Cheerleading

         Coaches and Administrators and all predecessors, successors, subsidiaries,

                                       Page 1 of 23
Case 2:20-cv-02892-SHL-tmp Document 361-9 Filed 11/01/22 Page 2 of 23        PageID 8167




        departments, divisions, and/or affiliates, including without limitation any

        organization or entity which they manage or control, together with all present

        and former directors, members, officers, employees, agents, representatives,

        or any persons acting or authorized to act on their behalf.

              2.     “Agreement” means any oral or written contract, arrangement or

        understanding, whether formal or informal, between two or more persons,

        together with all modifications and amendments thereto.

              3.     “All” should be construed to include the collective as well as the

        singular and shall mean “each,” “any,” and “every.”

              4.     “All-Star Cheer” means a discipline of cheerleading in which

        routines composed of tumbling, stunting, pyramids, and dance are performed

        by teams of athletes affiliated with All-Star Gyms (as opposed to schools,

        clubs, or government entities).

              5.     “All-Star Gym” means any private enterprise that trains teams of

        athletes to perform All-Star Cheer routines in competitions.

              6.     “And” and “or” should be construed to require the broadest

        possible response. If, for example, a Request calls for information about “A

        or B” or “A and B,” You should produce all information about A and all

        information about B, as well as all information about A and B collectively. In

        other words, “or” and “and” should be read as “and/or.”
                                      Page 2 of 23
Case 2:20-cv-02892-SHL-tmp Document 361-9 Filed 11/01/22 Page 3 of 23        PageID 8168




              7.     “Any” shall be construed to mean “any and all.”

              8.     “Bid” means an official offer from an Event Producer inviting

        an All-Star Cheer or School Cheer team to attend a Championship or School

        Cheer competition.

              9.     “Camp” means any camp at which athletes and teams practice

        Competitive Cheer or dance skills and develop cheerleading or dance routines

        for School Cheer or All-Star Cheer.

              10.    “Championship” means any of the nationally recognized All-Star

        Cheer championship competitions in the United States, including but not

        limited to the Cheerleading Worlds, The Summit, School State and National

        or the U.S. Finals or other national championship competitions.

              11.    “Communication” means without limitation, oral or written

        communications of any kind, such as electronic communications, e-mails, text

        messages, facsimiles, telephone communications, correspondence, exchange

        of written or recorded information, or face-to-face meetings. The phrase

        “communication between” is defined to include instances where one party

        addresses the other party, but the other party does not necessarily respond.

              12.    “Competitive Cheer” means an activity in which teams of

        athletes perform routines composed of cheerleading moves or routines,

        including but not limited to, tumbling, stunting, pyramids, and synchronized
                                      Page 3 of 23
Case 2:20-cv-02892-SHL-tmp Document 361-9 Filed 11/01/22 Page 4 of 23          PageID 8169




        dance, and in the case of School Cheer, elements of traditional sideline cheer

        such as band chants, fight songs, and motivational cheers.

              13.    “Complaint” means the July 24, 2020 Complaint in American

        Spirit and Cheer Essentials, Inc., et. al. v. Varsity Brands, LLC, et. al. Case

        No. 2:20-cv-02782-SHL-tmp, (ECF No. 1), or any future amended

        complaint(s) filed in the above-captioned action.

              14.    The terms “concerning,” “reflecting,” “regarding,” and “relating

        to” are used in the broadest possible sense and mean, in whole or in part,

        addressing, analyzing, constituting, containing, commenting, in connection

        with, dealing with, discussing, describing, embodying, evidencing,

        identifying, pertaining to, referring to, reporting, stating, or summarizing.

              15.    “Defendant” means any Defendant named in the Complaint or

        any amended complaint filed in this action.

              16.    “Document” and “Records” means the original and all non-

        identical copies of all items subject to discovery under Rule 34 of the Federal

        Rules of Civil Procedure. A reference to “document(s)” or “Records” shall

        include both ESI and hard-copy documents, as defined herein: 1) “Document

        Family” refers to a group of related ESI that includes parent and child

        documents as maintained in the ordinary course of business (e.g., a parent

        email and any attachments thereto). 2) “Electronically stored information” or
                                       Page 4 of 23
Case 2:20-cv-02892-SHL-tmp Document 361-9 Filed 11/01/22 Page 5 of 23          PageID 8170




        “ESI,” as used herein, means, as referenced in the Federal Rules of Civil

        Procedure, information that is stored electronically, regardless of the media or

        whether it is in the original format in which it was created, as opposed to

        stored in hard copy (i.e., on paper). 3) “Extracted Text” means the text

        extracted from an electronic document and includes all header, footer and

        document body information when reasonably available. 4) “Hard Copy

        Document” means a document collected from physical files (paper) and not

        from electronic sources. 5) “Media” means an object or device, real or virtual,

        including but not limited to a disc, tape, computer or other device on which

        data is or was stored. 6) “Metadata” is used to describe the structural

        information of a file that contains data about the file, as opposed to describing

        the content of a file. The Metadata fields to be produced are listed in Exhibit

        1. Case 2:20-cv-02600-SHL-cgc Document 72 Filed 10/29/20 Page 2 of 17

        PageID 486 3. 7) “Native” or “Native Format” means and refers to the format

        of ESI in the application in which it was originally created and/or as used by

        the Producing Party in the usual course of its business and in its regularly

        conducted activities. 8) “OCR text” means text generated through Optical

        Character Recognition Process of image/bitmap picture representation of the

        documents. 9) “Producing Party” means or refers to any party in the litigation

        from which production of ESI or hard copy documents are sought. 10)
                                       Page 5 of 23
Case 2:20-cv-02892-SHL-tmp Document 361-9 Filed 11/01/22 Page 6 of 23       PageID 8171




        “Receiving Party” means or refers to any party in the litigation seeking

        production of ESI or hard copy documents.                   “Event” means a

        cheerleading or dance competition, including Championship events,

        involving School Cheer teams, All-Star Cheer teams, or both from which

        production of ESI or hard copy documents are sought.

              17.    “Event Producer” means any entity or person, including

        independent event producers (IEP’s), who finances, operates, organizes, or

        advertises an Event related to School Cheer or All-Star Cheer.

              18.    “IASF” means International All-Star Federation and all

        predecessors, successors, subsidiaries, departments, divisions, and/or

        affiliates, including without limitation any organization or entity which they

        manage or control, together with all present and former directors, members,

        officers, employees, agents, representatives, or any persons acting or

        authorized to act on their behalf.

              19.    “IMPACT Program” or “VIP Branding” or “New School

        Construction Program” refers to Varsity school partnership programs,

        sometimes referred to as the “All School” program.

              20.    “NCA” means the National Cheerleading Association and all

        predecessors, successors, subsidiaries, departments, divisions, and/or

        affiliates, including without limitation any organization or entity which they
                                       Page 6 of 23
Case 2:20-cv-02892-SHL-tmp Document 361-9 Filed 11/01/22 Page 7 of 23         PageID 8172




        manage or control, together with all present and former directors, members,

        officers, employees, agents, representatives, or any persons acting or

        authorized to act on their behalf.

              21.    “NFHS” means National Federation of State High Schools

        Association and all predecessors, successors, subsidiaries, departments,

        divisions, and/or affiliates, including without limitation any organization or

        entity which they manage or control, together with all present and former

        directors, members, officers, employees, agents, representatives, or any

        persons acting or authorized to act on their behalf.

              22.    “School” means public or private junior high, high school,

        college, or university, including school districts and state government entities

        that oversee the high school, college, and university system, together with all

        present and former officers, employees, agents, representatives, or any

        persons acting or authorized to act on their behalf.

              23.    “School Cheer” means a discipline of cheerleading in which

        routines composed of tumbling, stunting, pyramids, dance, and elements of

        traditional sideline cheer such as band chants, fight songs, and motivational

        cheers are performed by teams of Athletes affiliated with Schools.

              24.    “School Cheer Competition” means nationally recognized

        School Cheer competitions in the United States, including but not limited to:
                                       Page 7 of 23
Case 2:20-cv-02892-SHL-tmp Document 361-9 Filed 11/01/22 Page 8 of 23       PageID 8173




        UCA National High School Cheerleading Championship; UCA National

        College Championship; UDA National College Championship; NCA

        National High School Cheerleading Championship; NCA College National

        Championship; and NDA College National Championship.

              25.    “UCA” means Universal Cheerleading Association, and all

        predecessors, successors, subsidiaries, departments, divisions, and/or

        affiliates, including without limitation any organization or entity which they

        manage or control, together with all present and former directors, members,

        officers, employees, agents, representatives, or any persons acting or

        authorized to act on their behalf.

              26.    “USA Cheer” means the USA Federation for Sport Cheering and

        all predecessors, successors, subsidiaries, departments, divisions, and/or

        affiliates, including without limitation any organization or entity which they

        manage or control, together with all present and former directors, members,

        officers, employees, agents, representatives, or any persons acting or

        authorized to act on their behalf.

              27.    “USASF” means the U.S. All Star Federation, Inc. and all

        predecessors, successors, subsidiaries, departments, divisions, and/or

        affiliates, including without limitation any organization or entity which they

        manage or control, together with all present and former directors, members,
                                       Page 8 of 23
Case 2:20-cv-02892-SHL-tmp Document 361-9 Filed 11/01/22 Page 9 of 23       PageID 8174




        officers, employees, agents, representatives, or any persons acting or

        authorized to act on their behalf.

              28.    “Varsity” means Varsity Brands, LLC, BSN Sports, LLC,

        Stanbury Uniforms, LLC, Herff Jones, LLC, Varsity Intropa Tours, LLC,

        Varsity Brands Holding Co., Inc., Varsity Spirit, LLC, Varsity Spirit Fashion

        & Supplies, LLC, and all predecessors, successors, subsidiaries, departments,

        divisions, and/or affiliates, including without limitation any organization or

        entity which they manage or control, together with all present and former

        directors, members, officers, employees, agents, representatives, or any

        persons acting or authorized to act on their behalf.

              29.    The terms “You,” or “Your,” means the persons or entities upon

        whom these Request are served.

                                   INSTRUCTIONS

              1.     The Definitions above are provided only for purposes of

        discovery, in conformance with Rule 45 of the Federal Rules of Civil

        Procedure and are not intended to be used for any purpose other than

        discovery. Plaintiffs reserve the right to modify these Definitions or utilize

        different Definitions for any other purpose.




                                       Page 9 of 23
Case 2:20-cv-02892-SHL-tmp Document 361-9 Filed 11/01/22 Page 10 of 23         PageID
                                    8175



             2.     The Definitions and the Requests are to be fully construed

       broadly of their meaning in a good faith effort to comply with the Federal

       Rules of Civil Procedure.

             3.     All words not defined in the Definitions shall be construed using

       their plain and ordinary meaning. If more than one meaning can be ascribed

       to a word, the meaning that would make a Document be covered by the

       Requests for production should be used, unless You provide written notice of

       the specific ambiguity and state the definition of the word used to exclude the

       Document from the scope of the Request.

             4.     In answering and responding to these Requests, you shall furnish

       such information and Documents in Your possession, custody or control,

       including information that is in the possession, custody or control of your

       agents, consultants, accountants, investigators, and (subject to any otherwise

       applicable privileges) attorneys. If you should answer that the requested

       documents have already been provided, then, in that event, please identify

       those records by referencing the document number, bates stamp or ESI

       protocol numbers for the referenced documents that were already produced.

             5.     Each Request herein shall be construed independently. No

       Request shall be construed by reference to any other request for the purpose

       of limiting the scope of the answers to such request.
                                     Page 10 of 23
Case 2:20-cv-02892-SHL-tmp Document 361-9 Filed 11/01/22 Page 11 of 23          PageID
                                    8176



             6.     Where the context in a Request makes it appropriate, each

       singular word shall include its plural and each plural word shall include its

       singular.

             7.     Your obligation to respond to these Requests is a continuing one.

       If, after responding to these Requests, You obtain or become aware of any

       new or additional information pertaining to a request contained herein, You

       must supplement Your answer in accordance with Federal Rules of Civil

       Procedure 45.

             8.     Documents should be produced in accordance with the terms of

       the Stipulated Protective Order and the Stipulation Regarding Production of

       Electronically Stored Information (“ESI Protocol”) (ECF No. 97-2).

             9.     If there are no Documents or other things responsive to any

       particular Request, your response shall state so in writing.

             10.    If any Document is withheld, in whole or in part, due to a claim

       of privilege of any kind, please provide a privilege log that sets forth

       separately with respect to each Document: (a) the nature of the privilege or

       ground of confidentiality claimed; (b) the author(s) of the Document

       (designating which, if any, are attorneys); (c) the title of the Documents (or

       subject line if the Document in an email); (d) the recipient(s) of the Document,

       including all persons who received copies of the Document (designating
                                     Page 11 of 23
Case 2:20-cv-02892-SHL-tmp Document 361-9 Filed 11/01/22 Page 12 of 23           PageID
                                    8177



       which, if any, are attorneys); (e) a description of the Document (or redacted

       portion of the Document) as set forth in Rule 26(b)(5)(A)(ii) of the Federal

       Rules of Civil Procedure; (f) the Bates range of the Document; and (g) the

       privilege log reference number. Any privilege log or list is to be produced in

       an Excel spreadsheet or other format capable of electronic sorting.

       Unless otherwise noted herein, the relevant time period for these Requests is

 January 1, 2015 to the present (the “Relevant Time Period”). These Requests seek

 all responsive Documents created or generated during the Relevant Time Period.

       If any of the requested documents are duplicative or cumulative of prior

 discovery requested in Fusion Elite All Stars, et. al. v. Varsity Brands, LLC, et. al.,

 Civ. Action No. 2:20-cv-2600 (W.D. Tenn. ) or Jessica Jones, et. al. v. Bain Capital

 Private Equity, et. al., Civ. Action No. 2:20-cv-02892 , then, in that case, just

 respond that the information and/or documents have already been produced through

 the coordinated discovery agreement between the three cases.



                          REQUESTS FOR PRODUCTION

                                           1.

       Produce for inspection all IMPACT program agreements, VIP Branding

 agreements or New School Construction Program agreements entered with any

 junior high, high school or college from 2015 to the present. If you should answer
                                      Page 12 of 23
Case 2:20-cv-02892-SHL-tmp Document 361-9 Filed 11/01/22 Page 13 of 23           PageID
                                    8178



 that the requested documents have already been provided, then, in that event,

 please identify those records by referencing the bates stamp or ESI protocol

 numbers for the referenced documents that were already produced.

                                          2.

       Produce any records, dec presentations, sales presentations or documents that

 reflect the word “market share” relating to school sales of cheerleading uniforms,

 cheer shoes/sneakers or cheer merchandise or the business done by Defendants in

 the school market for cheer sales from 2015 to the present. If you should answer

 that the requested documents have already been provided, then, in that event, please

 identify those records by referencing the bates stamp or ESI protocol numbers for

 the referenced documents that were already produced.

                                          3.

       Produce any documents or records that establish any sponsorship agreements

 by Defendants of any state school athletic or coaches’ annual conventions or any

 conventions held by the National Federation of State High Schools (NFHS) from

 2015 to the present. If you should answer that the requested documents have already

 been provided, then, in that event, please identify those records by referencing the

 bates stamp or ESI protocol numbers for the referenced documents that were already

 produced.



                                     Page 13 of 23
Case 2:20-cv-02892-SHL-tmp Document 361-9 Filed 11/01/22 Page 14 of 23          PageID
                                    8179



                                          4.

       Produce any documents or records that establish agreements between

 Defendants and the National Federation of State High Schools (NFHS) from 2015

 to the present. If you should answer that the requested documents have already been

 provided, then, in that event, please identify those records by referencing the bates

 stamp or ESI protocol numbers for the referenced documents that were already

 produced.

                                          5.

       Produce any letters authored by any of the Defendants threatening an

 individual competitor or business competitor with litigation, restraining order,

 injunction or other legal proceeding from 2015 to the present. If you should answer

 that the requested documents have already been provided, then, in that event, please

 identify those records by referencing the bates stamp or ESI protocol numbers for

 the referenced documents that were already produced.

                                          6.

       Produce all records that discuss or relate to the school “Spirit Awards”

 referenced on Defendants web sites. If you should answer that the requested

 documents have already been provided, then, in that event, please identify those

 records by referencing the bates stamp or ESI protocol numbers for the referenced

 documents that were already produced.

                                     Page 14 of 23
Case 2:20-cv-02892-SHL-tmp Document 361-9 Filed 11/01/22 Page 15 of 23         PageID
                                    8180




                                         7.

       Produce all sales records or sales documents for graduation regalia to include

 caps and gowns, class or championship rings, tassels or graduation announcements

 from 2015 to the present. If you should answer that the requested documents have

 already been provided, then, in that event, please identify those records by

 referencing the bates stamp or ESI protocol numbers for the referenced documents

 that were already produced.

                                         8.

       Produce all documents or records that reflect or show the names of the

 competitors of Defendants in the scholastic cheer market for the years 2016, 2017,

 2018, 2019 and 2020. If you should answer that the requested documents have

 already been provided, then, in that event, please identify those records by

 referencing the bates stamp or ESI protocol numbers for the referenced documents

 that were already produced.

                                         9.

       Produce all records or documents that evidence or show due diligence for the

 acquisition of any of the Defendants school related businesses by Bain (or any

 subdivision of Bain Capital). If you should answer that the requested documents

 have already been provided, then, in that event, please identify those records by

                                    Page 15 of 23
Case 2:20-cv-02892-SHL-tmp Document 361-9 Filed 11/01/22 Page 16 of 23        PageID
                                    8181



 referencing the bates stamp or ESI protocol numbers for the referenced documents

 that were already produced.

                                        10.

       Produce all records or documents that mention or reflect anything regarding

 Defendants competitor N’finity in the school cheer market from 2015 to the present.

 If you should answer that the requested documents have already been provided, then,

 in that event, please identify those records by referencing the bates stamp or ESI

 protocol numbers for the referenced documents that were already produced.

                                        11.

       Produce all records or documents that mention or reflect anything regarding

 Defendants competitor Rebel in the school cheer market from 2015 to the present.

 If you should answer that the requested documents have already been provided, then,

 in that event, please identify those records by referencing the bates stamp or ESI

 protocol numbers for the referenced documents that were already produced.

                                        12.

       Produce all records or documents that mention or reflect anything regarding

 Defendants competitor NIKE in the school cheer market from 2015 to the present.

 If you should answer that the requested documents have already been provided, then,

 in that event, please identify those records by referencing the bates stamp or ESI

 protocol numbers for the referenced documents that were already produced.

                                    Page 16 of 23
Case 2:20-cv-02892-SHL-tmp Document 361-9 Filed 11/01/22 Page 17 of 23          PageID
                                    8182




                                         13.

       Produce all records or documents that mention or reflect anything regarding

 any other competitor of Defendants in the school cheer market from 2015 to the

 present. If you should answer that the requested documents have already been

 provided, then, in that event, please identify those records by referencing the bates

 stamp or ESI protocol numbers for the referenced documents that were already

 produced.

                                         14.

       Produce any records or documents that mention or reflect any school cheer

 related sales made by Defendants for the years 2016, 2017, 2018, 2019 or 2020. If

 you should answer that the requested documents have already been provided, then,

 in that event, please identify those records by referencing the bates stamp or ESI

 protocol numbers for the referenced documents that were already produced.

                                         15.

       Produce any records or documents that mention or reflect American Spirit and

 Cheer Essentials, Inc., Rockstar Championships, LLC or Jeff & Craig Cheer, LLC,

 d/b/a Jeff and Craig Camps from 2015 to the present. If you should answer that the

 requested documents have already been provided, then, in that event, please identify

 those records by referencing the bates stamp or ESI protocol numbers for the

                                     Page 17 of 23
Case 2:20-cv-02892-SHL-tmp Document 361-9 Filed 11/01/22 Page 18 of 23          PageID
                                    8183



 referenced documents that were already produced.

                                         16.

       Produce any records or documents that mention or reflect any school camp

 related sales made by Defendants for the years 2016, 2017, 2018, 2019 or 2020. If

 you should answer that the requested documents have already been provided, then,

 in that event, please identify those records by referencing the bates stamp or ESI

 protocol numbers for the referenced documents that were already produced.

                                         17.

       Produce any records or documents that mention or reflect any school cheer

 competition related sales made by Defendants for the years 2016, 2017, 2018, 2019

 or 2020. If you should answer that the requested documents have already been

 provided, then, in that event, please identify those records by referencing the bates

 stamp or ESI protocol numbers for the referenced documents that were already

 produced.

                                         18.

       Produce any records or documents that mention or reflect annual sales figures

 for Allstar cheer uniforms, sneakers, or cheer merchandise for the years 2016, 2017,

 2018, 2019 or 2020. If you should answer that the requested documents have already

 been provided, then, in that event, please identify those records by referencing the

 bates stamp or ESI protocol numbers for the referenced documents that were already

                                     Page 18 of 23
Case 2:20-cv-02892-SHL-tmp Document 361-9 Filed 11/01/22 Page 19 of 23         PageID
                                    8184



 produced.

                                         19.

       Produce any records or documents that mention or reflect annual sales figures

 for school cheer uniforms, sneakers, or cheer merchandise for the years 2016, 2017,

 2018, 2019 or 2020. If you should answer that the requested documents have already

 been provided, then, in that event, please identify those records by referencing the

 bates stamp or ESI protocol numbers for the referenced documents that were already

 produced.

                                         20.

       Produce any records or documents that mention or reflect annual sales figures

 for Allstar cheer competitions for the years 2016, 2017, 2018, 2019 or 2020. If you

 should answer that the requested documents have already been provided, then, in

 that event, please identify those records by referencing the bates stamp or ESI

 protocol numbers for the referenced documents that were already produced.

                                         21.

       Produce any records or documents that mention or reflect annual sales figures

 for school cheer competitions for the years 2016, 2017, 2018, 2019 or 2020. If you

 should answer that the requested documents have already been provided, then, in

 that event, please identify those records by referencing the bates stamp or ESI

 protocol numbers for the referenced documents that were already produced.

                                     Page 19 of 23
Case 2:20-cv-02892-SHL-tmp Document 361-9 Filed 11/01/22 Page 20 of 23         PageID
                                    8185



                                         22.

       Produce any records or documents that mention or reflect annual sales figures

 for school cheer camps for the years 2016, 2017, 2018, 2019 or 2020. If you should

 answer that the requested documents have already been provided, then, in that event,

 please identify those records by referencing the bates stamp or ESI protocol numbers

 for the referenced documents that were already produced.

                                         23.

       Produce any records or documents that mention or reflect annual sales figures

 for Allstar cheer camps for the years 2016, 2017, 2018, 2019 or 2020. If you should

 answer that the requested documents have already been provided, then, in that event,

 please identify those records by referencing the bates stamp or ESI protocol numbers

 for the referenced documents that were already produced.

                                         24.

       Produce any records or documents that mention or reflect annual sales figures

 for school class rings, competition rings, caps and gowns, tassels, and/or graduation

 regalia for the years 2016, 2017, 2018, 2019 or 2020. If you should answer that the

 requested documents have already been provided, then, in that event, please identify

 those records by referencing the bates stamp or ESI protocol numbers for the

 referenced documents that were already produced.



                                     Page 20 of 23
Case 2:20-cv-02892-SHL-tmp Document 361-9 Filed 11/01/22 Page 21 of 23   PageID
                                    8186



                                           Respectfully submitted,

                                            /s/ Robert A. Falanga
                                           Robert A. Falanga, Esq.
                                           Georgia Bar No. 254400

                                           /s/ Kobelah S. Bennah
                                           Kobelah S. Bennah
                                           Georgia Bar No. 378113




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                                 Page 21 of 23
Case 2:20-cv-02892-SHL-tmp Document 361-9 Filed 11/01/22 Page 22 of 23          PageID
                                    8187



                  PLAINTIFF=S CERTIFICATE OF SERVICE

       This is to certify that I have this day served all counsel to this action with a

 copy of Plaintiff=s Requests to Produce directed to all Defendants for the above-

 styled case by either hand delivering same, by e-file and/or by depositing a copy of

 them in the United States mail in a properly addressed envelope with adequate

 postage affixed thereto as follows:


                           Adam S. Baldridge
                           Nicole D. Berkowitz
                           Grady M. Garrison
                           Matthew Sinon Mulqueen
                           BAKER, DONELSON, BEARMAN,
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                           George Cary
                           Steven J. Kaiser
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                           2200 Ross Avenue, Suite 2800
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                                       Page 22 of 23
Case 2:20-cv-02892-SHL-tmp Document 361-9 Filed 11/01/22 Page 23 of 23   PageID
                                    8188



       This 24th day of August , 2022.

                                            S/ Robert A. Falanga
                                           Robert A. Falanga
                                           Attorney for the Plaintiffs
                                           Georgia Bar No.: 254400




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                                 Page 23 of 23
